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                         UNITED STATES DISTRICT COURT
                      IN THE SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION


UNITED STATES OF AMERICA                       §
                                               §
v.                                             §           Case No. 2:13-cr-130
                                               §
STEPHANIE DEMING, et al.                       §


                       ORDER WITHDRAWING MOTION AND
                            DISCOVERY DEADLINES


       The Court orders all motion and discovery deadlines withdrawn, and will establish new

deadlines at the Initial Pretrial Conference on April 2, 2013. In the interim, all defendants are

ordered to pursue discovery.



       ORDERED this 11th day of March, 2013.




                                          ____________________________________
                                           HAYDEN HEAD
                                           SENIOR UNITED STATES DISTRICT JUDGE
